UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

Richard Marasco, individually on behalf of himself     Case No. 16-cv-00232(PKC)(JO)
and all others similarly situated,

                      Plaintiff,                       NOTICE OF MOTION TO DISMISS
                                                       THE AMENDED CLASS ACTION AND
               -against-                               COLLECTIVE ACTION COMPLAINT
American Expediting Company, Inc., A to Z
Logistics, Inc. Victor Finnegan, and John Does 1-25,

                      Defendants.


       PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law in Support

of Defendant Victor Finnegan’s Motion to Dismiss the third Amended Class Action and

Collective Action Complaint (“TAC”), dated April 11, 2017, the supporting Affirmation of

Kevin R. Vozzo, dated April 11, 2017, and the exhibit annexed thereto, Defendant, by his

attorneys, will move this Court, before the Honorable Pamela K. Chen, at the United States

District Court, United States Courthouse, 225 Cadman Plaza East, Brooklyn, New York, 11201,

on a date and time to be set by the Court, for an Order, pursuant to Rule 12(b)(6) of the Federal

Rules of Civil Procedure, dismissing the TAC in its entirety, on the grounds that Plaintiff has

failed to state a claim against Defendant Finnegan.

       PLEASE TAKE FURTHER NOTICE, that pursuant to this Court’s March 16, 2017

Order, any opposition to this motion shall be served on the undersigned counsel for Defendant no

later than April 25, 2017, and Defendant’s reply papers, if any, shall be served no later than May

9, 2017.
Date: April 11, 2017
      New York, New York
                                 /s/ Kevin R. Vozzo
                                 Andrew M. Spurchise
                                 Kevin R. Vozzo
                                 Leslie M. DiBenedetto
                                 LITTLER MENDELSON, P.C.
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                                 Attorneys for Defendant
                                  Victor Finnegan




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